                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION - FLINT

IN RE:

         CHRISTOPHER D. WYMAN,                               Case No. 12-32264-dof
                                                             Chapter 7 Proceeding
            Debtor.                                          Hon. Daniel S. Opperman
_____________________________________/
MICHAEL A. MASON and
BARBARA DUGGAN,

         Plaintiffs,

v.                                                           Adversary Proceeding
                                                             Case No. 12-3348-dof
MICHELLE PICHLER
and EDWARD LINCK,

      Defendants.
_____________________________________/

  SUPPLEMENTAL OPINION ADDRESSING PLAINTIFFS’ PRESENTMENT OF ORDER
       (67), OBJECTION OF EDWARD LINCK (69), RESPONSE OF PLAINTIFFS (72),
 RESPONSE OF MICHELLE PICHLER (73), CONCURRENCE OF EDWARD LINCK (75),
   PLAINTIFFS’ RESPONSE TO DEFENDANTS’ OBJECTIONS AND CONCURRENCE
  (77),PLAINTIFFS’ MOTION TO DETERMINE CORE/NONCORE STATUS OF CLAIMS
 (78), OBJECTION OF MICHELLE PICHLER (79), CONCURRENCE OF EDWARD LINCK
                        (81), AND REPLY OF PLAINTIFFS (83)

         The Court entered an Opinion Regarding Motions for Summary Judgment in this case on

March 8, 2013. On March 11, 2013, the Plaintiffs filed a Notice of Submission of Order that was

objected to by the Defendant, Edward Linck, on March 15, 2013. The nature of Mr. Linck’s

objection goes to the extent of the Court’s Opinion, not the appropriateness of the Order proposed

by Plaintiffs.

         Since the filing of Mr. Linck’s Objection, the parties have filed numerous documents

outlining their respective positions on a number of issues, all of which address whether the Court’s

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previous Opinion was complete and whether the Plaintiffs are required to file an amended complaint

more clearly stating the claims that the Plaintiffs allege they have against the Defendants. Of

interest is the Plaintiffs’ Reply Supporting 11 U.S.C. § 572(b)(3) Motion to Detrmine [sic]

Core/NonCore Status of Claims DE 78. In this pleading, the Plaintiffs’ counsel directs the Court’s

attention to the case of In re Global Technovations, Inc., 694 F.3d 705, 722 (6th Cir. 2012) which

the Plaintiffs claim was decided on September 13, 2013 [sic]. The passage cited to the Court

references a proof of claim that was filed in the bankruptcy estate. Morever, the Plaintiffs urge this

Court to determine this matter under 11 U.S.C. § 572.

       The Court does not find any of the pleadings filed by the parties helpful. The Court in its

Opinion concluded that the Plaintiffs’ claims were not sufficiently and properly stated as to the

nature of each claim that each Plaintiff had. To restate, one Plaintiff is Michael Mason, the

appointed Chapter 7 Trustee in this case. The other Plaintiff, Barbara Duggan, claims to hold a

judgment against Mr. Wyman. The very statutes cited by the Plaintiffs in their Complaint as

forming the basis for a jurisdiction in this case are 28 U.S.C. § 1334, 11 U.S.C. § § 542, 544, 547,

and 550. All of the statutes arising out of Title 11 of the United States Code, that is Sections 542,

544, 547, and 550 clearly state that “the trustee” has rights under the statutes. Likewise, under each

of these statutes, this Court would have jurisdiction to decide certain claims, if properly alleged

under Title 11 of the United States Code. These matters would also be core proceedings under 28

U.S.C. § 157 if properly alleged.

       Conversely, it is entirely possible that the allegations made by either Plaintiff may be such

that this Court does not have jurisdiction and that the proceedings are not core proceedings. If so,

then this Court and the parties need to address whether those claims should be adjudicated


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elsewhere. In order to do this, the Plaintiffs should be allowed the opportunity to amend their

Complaint. The Court’s original Opinion gave the Plaintiffs that right and this Supplemental

Opinion continues to allow the Plaintiffs to have that right. If the Plaintiffs do not chose to assert

that right, that is the Plaintiffs’ prerogative.

        The references to 11 U.S.C. § 572 are not helpful to the Court and the Court requests that

the Plaintiffs, with more particularity, detail the source and the applicability of the language cited

by the Plaintiffs. As to Plaintiffs’ Motion pursuant to 11 U.S.C. 527 (b)(3), the Court can not find

this section and given the subject matter of Section 527, which details disclosures required for debt

relief agencies, fails to see the applicability of this section. The Court therefore denies Plaintiffs’

Motion without prejudice.

        As the Plaintiffs consider whether the Complaint should be amended, attention is directed

to the statutory provisions of 11 U.S.C. § 547. In particular, the Plaintiffs’ Complaint, paragraph

19, combines a number of elements of 11 U.S.C. § 547 such that it is not clear what is alleged, and

therefore not clear what the Defendant, Michelle Pichler, is admitting or denying. A careful review

of 11 U.S.C. § 547 is suggested, and then an allegation of each element on a paragraph-by-paragraph

basis is recommended so that the Defendants may properly answer each allegation and this Court

can then determine whether a preference exists under 11 U.S.C. § 547.

        The request of the Defendants, Michelle Pichler and Edward Linck, for reconsideration or

clarification of the Court’s Opinion is premature. An order must be entered before such a motion

can be filed. L.B.R. 9024-1.



        Accordingly, the Court will enter an Order contemporaneous with this Opinion and


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consistent with the Court’s March 8, 2013, Opinion.



Not for publication




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Signed on April 05, 2013 Signed on April 05, 2013
                                     /s/ Daniel S. Opperman
                                   Daniel S. Opperman
                                   United States Bankruptcy Judge




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